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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DARREN WEESE

CIVIL ACTION NO. 06-10499
VS.

SECTION: K

JUDGE STANWOOD R. DUVAL, JR.
THE HANOVER INSURANCE
COMPANY AND INSURANCE MAGISTRATE: 2
UNDERWRITERS, LTD. MAG. JOSEPH C. WILKINSON, JR.

AFFIDAVIT OF CHRISTINE A. GEORGE IN SUPPORT OF
NOTICE OF REMGVAL

Christine A. George, being duly sworn, deposes and states as follows:

1. I am a Litigation Coordinator with Massachusetts Bay Insurance Company
(“MBIC”). I make this affidavit based upon MBIC’s business records, with which I am
personally familiar.

2. Massachusetts Bay is a corporation organized under the laws of New Hampshire
with its principal place of business in Massachusetts.

3. Copies of the declarations for insurance policy number HVO 7782925 that MBIC
issued to Plaintiff (the “Policy’), effective for the period from February 12, 2005 through

February 12, 2006, are attached as Exhibit A hereto. As reflected on the declarations pages of
EXHIBIT

A

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the Policy, the policy limits include a limit of $138,000 for dwelling, $13,800 for other
structures, and $27,600 for loss of use.

4. MBIC made payments to Mr. Weese totaling $12,607.31.

5. The remaining available limits of the Policy exceeded $75,000 on the date the

Notice of Removal was filed and currently exceeds $75,000.

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Christine A. George

Sworn to and Subscribed before me
this 73 day of January, 2007.

Lave Cxbe

Notary Public

Netary Public, Livingston County,
My Commission Expires Sept. 19, wot

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ALLMERICA FINANCIAL®

HANOVER INSURANCE®

09 AMENDED DECLARATION #
EFFECTIVE 07/21/05
HOMEOWNERS POLICY
REASON FOR AMENDMENT: ADD MORTGAGEE
POLICY NUMBER FR MoueY PERIOD COVERAGE IS PROVIDED IN THE AGENCY CODE
HVO 7782925 02/12/05 02/12/06 MASSACHUSETTS BAY INSURANCE CO 040412700

NAMED INSURED AND ADDRESS AGENT

DARREN WEESE TELEPHONE: 504-883-

4301 FLORIDA AVE INSURANCE UNDERWRIT

MERAUX, LA 70075 2610 EDENBORN AVENU
P.0. BOX 6738
METAIRIE, LA 70009

POLICY PERIOD- 12:01 A.M. STANDARD TIME AT THE RESIDENCE PREMISES
THE PREMISES COVERED BY THIS POLICY IS LOCATED AT THE ABOVE ADDRESS.

CONSTRUCTION PREM. NO. OF TERR. PROT. YR. SECTION I LOSS
GROUP FAM. CODE CONST. DEDUCTIBLE
VENEER 36 1 05 03 03 $1000 PER OCCURRE
COVERAGE IS PROVIDED WHERE A PREMIUM OR A LIMIT OF LIABILITY IS SHOWN
SECTION I COVERAGE LIMIT OF LIABILITY

A. DWELLING $138,000
B. OTHER STRUCTURES $13,300
C. PERSONAL PROPERTY $96,600
D. LOSS OF USE $27,600

SECTION II COVERAGE
‘E. PERSONAL LIABILITY $300,000 EACH OCCURRENCE

F. MEDICAL PAY. TO OTHERS - $1,000 EACH PERSON
TOTAL BASIC PREMIUM - - ------+--+-- =
ADDITIONAL PREMIUMS :

ADDITIGNAL COVERAGE ENDORSEMENT

EXTENDED DWELLING REPLACEMENT COST

REPLACEMENT COST ON COVERAGE C - UNSCHEDULED PERSONAL PROPERTY
TOTAL ADDITIONAL PREMIUMS - - - - -~ ----- == -

RATING CREDITS

OPTIONAL DEDUCTIBLE
TOTAL RATING CREDITS

VALUED CUSTOMER CREDITS
CREDIT FOR PROTECTIVE DEVICES
NEW HOME DISCOUNT
NON-SMOKER DISCOUNT 5% CREDIT
12% CREDIT FOR INSURING BOTH YOUR AUTO AND HOME WITH US
TOTAL VALUED CUSTOMER CREDITS
TOTAL CREDITS - - -----------------

TOTAL PREMIUM ADJUSTMENTS - - - - - - ----- >

TOTAL ANNUAL PREMIUM - - ------------
PREV PREMIUM $1,226.00 CHANGE $.00 CHANGE IN PREMIUM
MORTGAGEE
GMAC MORTGAGE CORP. ISAOA
042-481299-8
PO BOX 4025
CORAOPOLIS, PA 15108
8
2
4
CONTINUED ON NEXT PAGE DIR
07/12/05 1022185567

PERSONAL LINES

ming
7A
no
7
+
oO

SEAS/SEC
NCE NO

PREMIUMS
$2,609.00

$16.00
$2,625.00

$14.00
$12.00
$196.00
$222.00

$500.00CR
$500.00CR

$130.00CR
$548.00CR
$130.00CR
$313.00CR
$1,121.00CR
$1,621.00CR -

$1,399.00CR
$1,226.00
$.00

ECT BILLED — -
PAGE O1 OF O02
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09 AMENDED DECLARATION #
EFFECTIVE 07/21/05
HOMEOWNERS POLICY

4

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REASON FOR AMENDMENT: ADD MORTGAGEE

POLICY NUMBER From * PERIOD To COVERAGE IS PROVIDED IN THE AGENCY CODE
HVO 7782925 02/12/05 02/12/06 MASSACHUSETTS BAY INSURANCE CO 040412700
NAMED INSURED AND ADDRESS AGENT ,
DARREN WEESE TELEPHONE: 504-883-2500
4301 FLORIDA AVE INSURANCE UNDERWRITERS LTD
MERAUX, LA 70075 2610 EDENBORN AVENUE
P.O. BOX 6738
METAIRIE, LA 70009

rORyS1 1340 12/91, HOO496 04/91, 251-1442 05/93, 261-1524 02/94, HOO490 04/91,
HOO353 12/98, 391-0565 01/83, 231-1949 12/02.
DESCRIPTION OF ADDITIONAL COVERAGES
POLICY CONTAINS ADDITIONAL COVERAGE ENDORSEMENT
EXTENDED DWELLING REPLACEMENT COST APPLIES
POLICY CONTAINS REPLACEMENT COST ON COVERAGE C
POLICY CONTAINS REPLACEMENT COST ON COVERAGE C
SPECIAL HURRICANE DEDUCTIBLE IS 2%, MAXIMUM DEDUCTIBLE=$5000

CREDIT FOR PROTECTIVE DEVICES PERCENTAGE IS 05

AUTHORIZED COMPANY REPRESENTATIVE :
INSURANCE UNDERWRITERS LTD !

DIRECT BILLED

67/12/05 67 PAGE 02 OF 02

Pe
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PERSON
